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        In the United States Court of Federal Claims
                               No. 18-1880C
                         (Filed: February 19, 2019)

**************************

ORACLE AMERICA, INC.,

                    Plaintiff,

v.

THE UNITED STATES,

                    Defendant,

and

AMAZON WEB SERVICES, INC.,

                    Intervenor.

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                                  ORDER

       For good cause shown, the court grants the government’s unopposed
motion to stay this case while the Department of Defense reconsiders
whether possible personal conflicts of interest impacted the integrity of the
JEDI Cloud procurement. The government is directed to file a status report
within five days of a final decision by DoD.


                                         s/Eric G. Bruggink
                                         ERIC G. BRUGGINK
                                         Senior Judge
